Case 15-58440-wlh           Doc 882       Filed 09/28/18 Entered 09/28/18 07:42:54                       Desc Main
                                          Document     Page 1 of 2




     IT IS ORDERED as set forth below:



     Date: September 27, 2018
                                                                  _____________________________________
                                                                             Wendy L. Hagenau
                                                                        U.S. Bankruptcy Court Judge

_______________________________________________________________




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

    IN RE:                                                   CASE NO. 15-58440-WLH
                                                             JOINTLY ADMINISTERED
    BAY CIRCLE PROPERTIES, LLC, et al., 1
                                                             CHAPTER 11
                        Debtor,


                              ORDER DENYING MOTION TO DISMISS

         THIS MATTER is before the Court on Sugarloaf Centre, LLC’s Motion to Dismiss (the

“Motion”) (Doc. No. 100). Sugarloaf Centre, LLC seeks dismissal as a joint debtor and debtor-

in-possession in the above-styled jointly-administered case pursuant to 11 U.S.C. § 1112. Good

Gateway, LLC and SEG Gateway, LLC and Bay Point Capital Partners LP filed responses in

opposition to the Motion.


1
  The Debtors and the last four digits of their respective taxpayer identification numbers are Bay Circle Properties,
LLC (1578), DCT Systems Group, LLC (6978), Sugarloaf Centre, LLC (2467), Nilhan Developers, LLC (6335),
and NRCT, LLC (1649).
Case 15-58440-wlh       Doc 882    Filed 09/28/18 Entered 09/28/18 07:42:54             Desc Main
                                   Document     Page 2 of 2


       The Court held a hearing on the Motion on September 27, 2018. Debtor’s counsel was

present, and Walt Jones appeared as counsel for Good Gateway, LLC and SEG Gateway, LLC,

Garrett Nail appeared as counsel for Bay Point Capital Partners LP, John Christy appeared as

counsel for administrative expense claimant Schreeder, Wheeler & Flint LLP, and Thomas

Dworschak appeared as counsel for the United States Trustee. The Court heard argument from

the parties. For the reasons stated on the record, which the Court reserves the right to supplement,

       IT IS ORDERED that the Motion is DENIED WITHOUT PREJUDICE.

       The Clerk’s Office is directed to serve a copy of this Order on Debtors, counsel for the

Debtors, counsel for Good Gateway, LLC and SEG Gateway, LLC, counsel for Bay Point, the

United States Trustee, and all other parties on the mailing matrix.

                                        END OF ORDER
